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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK

 Sara Strasser, individually and on behalf of all others
 similarly situated,                                                   C.A. No: 1:22-cv-3201
                                           Plaintiff,
                                                                       CLASS ACTION COMPLAINT
        -v.-
 Mercantile Adjustment Bureau, LLC,                                    DEMAND FOR JURY TRIAL

                                       Defendant(s).


       Plaintiff Sara Strasser (hereinafter, “Plaintiff”), a New York resident, brings this Class

Action Complaint by and through her attorneys, Stein Saks, PLLC, against the Defendant Mercantile

Adjustment Bureau, LLC (hereinafter, “Defendant” or “MAB”), individually and on behalf of a

class of all others similarly situated, pursuant to Rule 23 of the Federal Rules of Civil Procedure,

based upon information and belief of the Plaintiff’s counsel, except for allegations specifically

pertaining to the Plaintiff, which are based upon the Plaintiff's personal knowledge.

                                        INTRODUCTION

       1.      Congress enacted the Fair Debt Collection Practices Act (“FDCPA”) in 1977 in

   response to the "abundant evidence of the use of abusive, deceptive, and unfair debt collection

   practices by many debt collectors." 15 U.S.C. §1692(a). At that time, Congress was concerned

   that "abusive debt collection practices contribute to the number of personal bankruptcies, to

   marital instability, to the loss of jobs, and to invasions of individual privacy." Id. Congress

   concluded that "existing laws…[we]re inadequate to protect consumers," and that "the effective

   collection of debts" does not require "misrepresentation or other abusive debt collection

   practices." 15 U.S.C. §§ 1692(b) & (c).




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      2.      Congress explained that the purpose of the FDCPA was not only to eliminate abusive

   debt collection practices, but also to "insure that those debt collectors who refrain from using

   abusive debt collection practices are not competitively disadvantaged." ld. § 1692(e). After

   determining that the existing consumer protection laws were inadequate, Congress created a

   private cause of action to provide consumers with a remedy against debt collectors who fail to

   comply with the FDCPA. Id. § 1692k.

                                  JURISDICTION AND VENUE

      3.      The Court has jurisdiction over this class action pursuant to 28 U.S.C. § 1331 and

   15 U.S.C. § 1692 et. seq. The Court has pendent jurisdiction over any state law claims in this

   action pursuant to 28 U.S.C. § 1367(a).

      4.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2) as this is

   where the Plaintiff resides as well as where a substantial part of the events or omissions giving

   rise to the claim occurred.

                                     NATURE OF THE ACTION

      5.      Plaintiff brings this class action on behalf of a class of New York consumers under

   § 1692 et seq. of Title 15 of the United States Code, commonly referred to as the FDCPA.

      6.      Plaintiff is seeking damages and declaratory relief.

                                              PARTIES

      7.      Plaintiff is a resident of the State of New York, County of Kings.

      8.      Defendant MAB is a "debt collector" as the phrase is defined in 15 U.S.C.

   § 1692(a)(6) and used in the FDCPA with a principal place of business, and address for service

   of process, located at 165 Lawrence Bell Drive, Suite 100, Williamsville, New York 14221.




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      9.       Upon information and belief, Defendant MAB is a company that uses the mail,

   telephone, and facsimile and regularly engages in business the principal purpose of which is to

   attempt to collect debts alleged to be due another.

                                        CLASS ALLEGATIONS

      10.      Plaintiff brings this claim on behalf of the following Class, pursuant to Fed. R. Civ.

   P. 23(a) and 23(b)(3).

      11.      The Class consists of:

               a. all individuals with addresses in the State of New York;

               b. to whom the Defendant MAB sent a collection letter attempting to collect a

                  consumer debt;

               c. despite being time-barred from bringing a lawsuit concerning the debt pursuant

                  to the applicable statute of limitations;

               d. which letter failed to disclose that the statute of limitations had run;

               e. which letter was sent on or after a date one (1) year prior to the filing of this

                  action and on or before a date twenty-one (2l) days after the filing of this action.

      12.      The identities of all class members are readily ascertainable from the records of the

   Defendant and those companies and entities on whose behalf it attempts to collect and/or have

   purchased debts.

      13.      Excluded from the Plaintiff Class are the Defendant and all officers, members,

   partners, managers, directors and employees of the Defendant and their respective immediate

   families, and legal counsel for all parties to this action, and all members of their immediate

   families.

      14.      There are questions of law and fact common to the Plaintiff Class, which common

   issues predominate over any issues involving only individual class members. The principal issue


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   is whether the Defendant’s written communications to consumers, in the form attached as

   Exhibit A, despite being time-barred from bringing a lawsuit concerning the debt pursuant to

   the applicable statute of limitations, violate 15 U.S.C. §§ l692e and/or 1692f.

      15.     Plaintiff’s claims are typical of the class members, as all are based upon the same

   facts and legal theories. Plaintiff will fairly and adequately protect the interests of the Plaintiff

   Class defined in this complaint. Plaintiff has retained counsel with experience in handling

   consumer lawsuits, complex legal issues, and class actions, and neither the Plaintiff, nor her

   attorneys, have any interests that might cause them not to vigorously pursue this action.

      16.     This action has been brought, and may properly be maintained, as a class action

   pursuant to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a

   well-defined community interest in the litigation:

              a. Numerosity: Plaintiff is informed and believes, and on that basis alleges, that the

                  Plaintiff Class defined above is so numerous that joinder of all members would

                  be impractical.

              b. Common Questions Predominate: Common questions of law and fact exist as

                  to all members of the Plaintiff Class and those questions predominate over any

                  questions or issues involving only individual class members. The principal issue

                  is whether the Defendant’s written communications to consumers, in the form

                  attached as Exhibit A, despite being time-barred from bringing a lawsuit

                  concerning the debt pursuant to the applicable statute of limitations, violate 15

                  U.S.C. §§ l692e and/or 1692f.




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              c. Typicality: Plaintiff’s claims are typical of the claims of the class members.

                  Plaintiff and all members of the Plaintiff Class have claims arising out of the

                  Defendant’s common uniform course of conduct complained of herein.

              d. Adequacy: Plaintiff will fairly and adequately protect the interests of the class

                  members insofar as the Plaintiff has no interests that are adverse to the absent

                  class members. Plaintiff is committed to vigorously litigating this matter.

                  Plaintiff has also retained counsel experienced in handling consumer lawsuits,

                  complex legal issues, and class actions. Neither the Plaintiff, nor her counsel,

                  have any interests that might cause them not to vigorously pursue the instant class

                  action lawsuit.

              e. Superiority: A class action is superior to the other available means for the fair

                  and efficient adjudication of this controversy because individual joinder of all

                  members would be impracticable. Class action treatment will permit a large

                  number of similarly situated persons to prosecute their common claims in a single

                  forum efficiently and without unnecessary duplication of effort and expense that

                  individual actions would engender.

      17.     Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure

   is also appropriate in that the questions of law and fact common to members of the Plaintiff

   Class predominate over any questions affecting an individual member, and a class action is

   superior to other available methods for the fair and efficient adjudication of the controversy.

      18.     Depending on the outcome of further investigation and discovery, Plaintiff may, at

   the time of class certification motion, seek to certify a class(es) only as to particular issues

   pursuant to Fed. R. Civ. P. 23(c)(4).




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                                        FACTUAL ALLEGATIONS


      19.      Plaintiff repeats the allegations above as if set forth here.

      20.      Some time prior to March 8, 2022, an obligation was allegedly incurred to the

   creditor, Bank of America, N.A. (“BOA”), a non-party to the instant suit.

      21.      Upon information and belief, the subject obligation arose out of consumer services.

   The subject debt was incurred by the Plaintiff solely for personal, household or family purposes.

   Specifically, for personal credit.

      22.      Plaintiff is a “consumer” as defined by 15 U.S.C.§ 1692a(3).

      23.      The subject obligation is consumer-related, and is therefore a "debt" as defined by

   15 U.S.C.§ 1692a(5).

      24.      Upon information and belief, BOA contracted with the Defendant MAB for the

   purpose of debt collection. Therefore, Defendant MAB is a “debt collector” as defined by 15

   U.S.C.§ 1692a(6).

      25.      Defendant uses the instrumentalities of interstate commerce or the mail in its

   businesses, the principal purpose of which is the collection of consumer debts. Defendant also

   regularly collects or attempts to collect, directly or indirectly, debts owed or due or asserted to

   be owed or due another. Therefore, Defendant is a "debt collector" as defined by 15 U.S.C.§

   1692a(6).

                               Violations – March 8, 2022 Collection Letter

      26.      On or about March 8, 2022, Defendant sent the Plaintiff a collection letter (the

   “Letter”) regarding the debt originally owed to BOA. (See “Letter” at Exhibit A).

      27.      The Letter lists the balance owed as $8,191.23.




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       28.     As of the date of the Letter, the statute of limitations to bring a lawsuit had already

   run.

       29.     However, Defendant deceptively fails to inform the Plaintiff consumer that the

   subject debt was no longer subject to a lawsuit.

       30.     Furthermore, the Letter fails to state that, if a partial payment is made, it could restart

   the statute of limitations to bring a lawsuit.

       31.     These omissions left the Plaintiff confused as to the true status of the subject debt.

       32.     Congress is empowered to pass laws and is well-positioned to create laws that will

   better society at large.

       33.     The harms caused by the Defendant have a close relationship to harms traditionally

   recognized as providing a basis for a lawsuit in American courts.

       34.     As it relates to this case, the common-law analogues are to the traditional torts of

   misrepresentation, malicious prosecution, wrongful use of civil proceedings, abuse of process,

   intimidation, negligent infliction of emotional distress, fraud and conversion.

       35.     For purposes of this action, only a close relationship to common-law harm is needed,

   not an exact duplicate.

       36.     Plaintiff is entitled to receive proper notice of the legal status of the debt, as required

   by the FDCPA.

       37.     Defendant failed to effectively inform the Plaintiff of this information, and in fact,

   attempted to conceal it in violation of the law.

       38.     These violations by the Defendant were unconscionable, knowing, willful, negligent

   and/or intentional, and the Defendant did not maintain procedures reasonably adopted to avoid

   any such violations.




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      39.       Defendant’s collection efforts with respect to this alleged debt from the Plaintiff

   caused the Plaintiff to suffer concrete and particularized harm, inter alia, because the FDCPA

   provides the Plaintiff with the legally protected right to not to be misled or treated unfairly with

   respect to any action for the collection of any consumer debt.

      40.       Defendant’s deceptive, misleading and unfair representations with respect to its

   collection efforts were material misrepresentations that affected and frustrated the Plaintiff's

   ability to intelligently respond to the Defendant’s collection efforts because the Plaintiff could

   not adequately respond to the Defendant’s demand for payment of this debt.

      41.       Defendant’s actions created an appreciable risk to the Plaintiff of being unable to

   properly respond to, or handle, the Defendant’s debt collection.

      42.       As described above, the Plaintiff was misled to her detriment by the statements in

   the Letter, and relied on the contents of the Letter to her detriment.

      43.       As described above, the Plaintiff would have pursued a different course of action

   were it not for the Defendant’s violations.

      44.       Plaintiff was considering prioritizing paying this debt before others, because of fear

   of a potential lawsuit.

      45.       However, Plaintiff cannot pay the alleged debt, trusting the Defendant, when it

   appears that the enforceability stated in the Defendant’s Letter is incorrect.

      46.       Because of the Defendant’s actions, the funds the Plaintiff could have used to pay all

   or part of the alleged debt were spent elsewhere.

      47.       Because of this, Plaintiff expended time and money in determining the proper course

   of action.




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      48.     In reliance on the Letter, Plaintiff expended time and money in an effort to mitigate

   the risk of future financial harm in the form of dominion and control over her funds.

      49.     Plaintiff’s failure to pay the debt arose from the collection Letter itself because the

   Plaintiff believes it was an attempt to collect monies not enforceable.

      50.     Plaintiff’s reliance on the Letter, and the resulting inaction/non-payment, caused

   negative credit furnishment to accrue, and ultimately be reported to third parties, to the

   Plaintiff’s financial detriment.

      51.     Plaintiff has suffered emotional distress, including, but not limited to, fear, anxiety,

   stress, increased heartrate, and difficulty with sleep, because of the Defendant’s

   misrepresentations and omissions concerning the legal status of the debt.

      52.     Plaintiff has suffered wasted time and annoyance because of the Defendant’s

   misrepresentations and omissions concerning the legal status of the debt.

      53.     Plaintiff has expended, and continues to expend, time and money because of the

   Defendant’s misrepresentations and omissions concerning the legal status of the debt.

      54.     As a result of the Defendant’s deceptive, misleading, unfair, unconscionable, and

   false debt collection practices, the Plaintiff has been damaged.

                                 COUNT I
         VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                           15 U.S.C. §1692e et seq.

      55.     Plaintiff repeats the allegations above as if set forth here.

      56.     Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff

   violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692e.

      57.     Pursuant to 15 U.S.C. §1692e, a debt collector may not use any false, deceptive, or

   misleading representation or means in connection with the collection of any debt.




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       58.     Defendant violated §1692e:


               a. As the Letter falsely represents the true character and/or legal status of the debt

                   in violation of §1692e(2)(A); and

               b. By making false and misleading representations/omissions in violation of

                   §1692e(10).


       59.     By reason thereof, Defendant is liable to the Plaintiff for judgment in that the

    Defendant’s conduct violated Section 1692e et seq. of the FDCPA, and the Plaintiff is entitled

    to actual damages, statutory damages, costs and attorneys’ fees.


                                  COUNT II
          VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                            15 U.S.C. §1692f et seq.

       60.     Plaintiff repeats the allegations above as if set forth here.

       61.     Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff

    violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692f.

       62.     Pursuant to 15 U.S.C. §1692f, a debt collector may not use any unfair or

    unconscionable means in connection with the collection of any debt.

       63.     Defendant violated this section by unfairly misrepresenting and/or omitting whether

    the debt was still subject to normal debt collection practices, despite being time-barred to bring

    a lawsuit by the applicable statute of limitations.

       64.     By reason thereof, Defendant is liable to the Plaintiff for judgment that the

    Defendant's conduct violated Section 1692f et seq. of the FDCPA, and the Plaintiff is entitled to

    actual damages, statutory damages, costs, and attorneys’ fees.




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                                  DEMAND FOR TRIAL BY JURY

        65.     Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests

    a trial by jury on all issues so triable.

                                          PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Sara Strasser, individually and on behalf of all others similarly

    situated, demands judgment from the Defendant MAB as follows:

        1.      Declaring that this action is properly maintainable as a Class Action and certifying

    the Plaintiff as Class representative, and Robert T. Yusko, Esq. as Class Counsel;

        2.      Awarding the Plaintiff and the Class statutory damages;

        3.      Awarding the Plaintiff and the Class actual damages;

        4.      Awarding the Plaintiff costs of this Action, including reasonable attorneys’ fees and

    expenses;

        5.      Awarding pre-judgment interest and post-judgment interest; and

        6.      Awarding the Plaintiff and the Class such other and further relief as this Court may

    deem just and proper.


        Dated: May 31, 2022                     Respectfully Submitted,

                                                        STEIN SAKS, PLLC

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